                                Case 18-15188            Doc 33       Filed 07/13/18           Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 18-15188-WIL
Pedro J Puma                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-0                  User: mkrauss                      Page 1 of 1                          Date Rcvd: Jul 11, 2018
                                      Form ID: stint                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 13, 2018.
db             +Pedro J Puma,   3804 Perry Street,   Brentwood, MD 20722-1501

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 13, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 11, 2018 at the address(es) listed below:
              Brett Weiss    brett@bankruptcylawmaryland.com, brettecf@gmail.com,jackie@brettweiss.com,
               r51781@notify.bestcase.com
              Michael T Freeman    mfreeman@siwpc.com, dreynolds@siwpc.com,npatel@siwpc.com,razzam@siwpc.com,
               bkreferrals@siwpc.com,siwbkecf@siwpc.com,siwpc@ecf.courtdrive.com,siwattecf@siwpc.com
              Randa S. Azzam    razzam@siwpc.com, dreynolds@siwpc.com,mfreeman@siwpc.com,npatel@siwpc.com,
               bkreferrals@siwpc.com,siwbkecf@siwpc.com,siwpc@ecf.courtdrive.com,siwattecf@siwpc.com
              Timothy P. Branigan    cmecf@chapter13maryland.com
                                                                                            TOTAL: 4
                            Case 18-15188     Doc 33     Filed 07/13/18     Page 2 of 2
                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                           at Greenbelt
                                 In re:    Case No.: 18−15188 − WIL     Chapter: 7

Pedro J Puma
Debtor


                                 DEFICIENCY NOTICE
DOCUMENT:                                        Voluntary Petition

PROBLEM:                                         The Statement of Intention is missing.

CURE:                                            The Statement of Intention shall be filed with the Court by the
                                                 date below.
                                                 A copy of the Statement of Intention shall be served on the
                                                 trustee and creditors named in the statement on or before the
                                                 filing of the statement.


The above deficiency must be cured by 8/10/18 , or on or before the date of the first meeting of the creditors,
whichever is earlier.


Additional information for non−attorney filers is available at
http://www.mdb.uscourts.gov/content/no−attorney


Dated: 7/11/18
                                                 Mark A. Neal, Clerk of Court
                                                 by Deputy Clerk, Margaret Krauss
                                                 410−962−7466


cc:    Debtor
       Attorney for Debtor − Brett Weiss

Form stint (rev. 03/2005)
